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AO 442 (Rev.11/11) ArrestWarrant



                                         UNITED STATES DISTRICT COURT
                                                                     for the

                                                            District of Columbia

                      United Statesof America
                                 V
                                                                      ) Case: 1:23-mj-00351
                  Martin JamesCudo                                    ?AssignedTo : Faruqui,Zia M.
                                                                      { Assign. Date : 12/13/2023
                                                                      5 DesMpUon: COMPLAINT W/ARREST WARRANT
                                                                      )
                             Defendant


                                                        ARREST WARRANT
To:       Any authorizedlaw enforcementofficer

          YOU ARE COMMANDED to arrest and bring before a United Statesmagistratejudge without unnecessarydelay
(nameofpersontobearresred                                       Martin James (-udo
who is accusedof an offense or violation basedon the following documentfiled with the court:

a Indictment [] Superseding Indictment [] Information a Superseding Information N Complaint
[] Probation Violation Petition                a SupervisedReleaseViolation Petition          n Violation Notice         n Order of the Court

This offense is briefly describedas follows:

18 u.s.c. § 1752(a)(1)- Knowingly Entering or Remaining in any Restricted Building or GroundsWithout
Lawful Authority;
18 U.S.C. § 1752(a)(2)(Disorderly and Disruptive Conduct in a Restricted Building or Grounds) ;
40 U.S.(_'.§ 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building) ;
40 U.S.C. § 5104(e)(2)((J)Parading, Demonstrating, or Picketing in a Capitol Building) .

                                                                                                                     M. Faruqui
Date:             12/13/2023
                                                                                               Issuing ofIcer ’s signature


City and state:                  Washington,D.C.                                          HonorableZia M. Faruqui
                                                                                                 U.S. Magistrate Judge


                                                                    Return

          This warrant was received on (date)          It Its 1b3         , and the person was arrested on (date)
at (city and state)                      RbI

                                                                                   /      Z
              1   Z/19/23                                                                     Arresting oFIcer ’s signature


                                                                               S?eCl4 ‘       4G-ZAC A4,InBC E+'7£z/ad4–
                                                                                                Printed name and title
